      Case:
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                    UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT
                              _____________

                                 No. 19-3046
                                _____________

                         In re: CITIZENS BANK, N.A.,
                                           Petitioner


                  On Petition for a Writ of Mandamus from the
                        United States District Court for the
                         Western District of Pennsylvania
                  Related to District Court No. 2-15-cv-01541
                 District Judge: The Honorable Arthur J. Schwab


    Before: SMITH, Chief Judge, SHWARTZ, and SCIRICA, Circuit Judges

                            ____________________

                                   ORDER
                            ____________________


       The petition for writ of mandamus is hereby DISMISSED in part as moot and
DENIED in part as unnecessary at this time. The Court further DISSOLVES the
stay entered September 13, 2019 and REFERS the matter to the Chief Judge of the
Western District of Pennsylvania for reassignment.
                                                 By the Court,

                                                 s/ D. Brooks Smith
                                                 Chief Judge

Dated: October 5, 2021



                                                        A True Copy:



                                                        Patricia S. Dodszuweit, Clerk
